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 6                         UNITED STATES DISTRICT COURT
 7                      EASTERN DISTRICT OF WASHINGTON
 8
 9 UNITED STATES OF AMERICA,                           No. 2:14-CR-021-RMP-10

10                      Plaintiff,                     ORDER DENYING
11 vs.                                                 DEFENDANT’S MOTION TO
                                                       REMOVE ELECTRONIC HOME
12 SAMUEL G. WARD,                                     MONITORING
13
                Defendant.
14
15         Before the Court is Defendant’s Motion for Order Modifying Release
16   Conditions, specifically to remove the condition of electronic home monitoring.
17   ECF No. 735. The Court previously granted Defendant’s request to be able to
18   travel to Kootenai County, Idaho for work, and to travel to Alabama, and ordered
19   briefing on the issue of removal of electronic home monitoring. ECF No. 737.
20   The United States objects to removal of electronic home monitoring.
21         The Court has reviewed Defendant's memoranda, ECF Nos. 735 and 751, in
22   support of his Motion to modify conditions of release by removing the requirement
23   that he be subject to electronic home monitoring, as well as the United states'
24   memorandum in opposition, ECF No. 753. The Court notes that Defendant has
25   successfully complied with terms and conditions of release to date, and that such is
26   expected and assumed. The court finds that conditions have not significantly
27   changed from the time the condition of electronic home monitoring was
28   determined appropriate and, therefore,



     ORDER - 1
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 1        The Defendant's Motion to Modify Conditions of Release by removing the
 2   requirement of electronic home monitoring, ECF NO. 735, is DENIED.
 3        DATED July 3, 2014.
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 5                            _____________________________________
                                        JOHN T. RODGERS
 6                             UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
